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                                                               officer or employee of a governmental entity, the Court
                                                               must consider the sufficiency of the allegations set forth in
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                                                               the complaint in light of 28 U.S.C. §§ 1915(e) and 1915A.
    Only the Westlaw citation is currently available.
                                                               Section 1915(e) directs that, when a plaintiff seeks to
             United States District Court,
                                                               proceed in forma pauperis, “(2) ... the court shall dismiss
                   N.D. New York.
                                                               the case at any time if the court determines that—... (B)
          Gary Franklin ROBINSON, Plaintiff,                   the action ... (i) is frivolous or malicious; (ii) fails to state
                          v.                                   a claim on which relief may be granted; or (iii) seeks
             Brian FISCHER, Defendant.                         monetary relief against a defendant who is immune from
                                                               such relief.” 28 U.S.C. § 1915(e)(2)(B). 1 Thus, even if
             No. 9:13–CV–1545 (GTS/TWD).                       a plaintiff meets the financial criteria to commence an
                           |                                   action in forma pauperis, it is the court's responsibility to
                 Signed March 31, 2014.                        determine whether the plaintiff may properly maintain the
                                                               complaint that he filed in this District before the court may
Attorneys and Law Firms
                                                               permit the plaintiff to proceed with this action in forma
Gary Franklin Robinson, Malone, NY, pro se.                    pauperis. See id.

                                                               Likewise, under 28 U.S.C. § 1915A, a court must review
                DECISION and ORDER                             any “complaint in a civil action in which a prisoner seeks
                                                               redress from a governmental entity or officer or employee
GLENN T. SUDDABY, District Judge.
                                                               of a governmental entity” and must “identify cognizable
I. INTRODUCTION                                                claims or dismiss the complaint, or any portion of the
 *1 The Clerk has sent to the Court a pro se complaint         complaint, if the complaint ... is frivolous, malicious, or
filed by plaintiff Gary Franklin Robinson pursuant to          fails to state a claim upon which relief may be granted;
42 U.S.C. § 1983 (“Section 1983”), together with an            or ... seeks monetary relief from a defendant who is
application to proceed in forma pauperis. Dkt. No. 1           immune from such relief.” 28 U.S.C. § 1915A; see also Carr
(“Compl.”); Dkt. No. 4 (“IFP Application”). Plaintiff          v. Dvorin, 171 F.3d 115, 116 (2d Cir.1999) (per curiam)
has also filed a motion for preliminary injunctive relief.     (Section 1915A applies to all actions brought by prisoners
Dkt. No. 9. For the reasons set forth below, plaintiff's       against government officials even when plaintiff paid the
IFP Application is granted; plaintiff's complaint is sua       filing fee); Abbas v. Dixon, 480 F.3d 636, 639 (2d Cir.2007)
sponte dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B)         (stating that both sections 1915 and 1915A are available
and 28 U.S.C. § 1915A(b) for failure to state a claim upon     to evaluate prisoner pro se complaints).
which relief may be granted; and plaintiff's motion for
preliminary injunctive relief is denied.
                                                                  A. Governing Legal Standard
                                                                *2 It has long been understood that a dismissal for failure
II. IFP APPLICATION                                            to state a claim upon which relief can be granted, pursuant
Upon review of plaintiff's IFP Application (Dkt. No. 4),       to Fed.R.Civ.P. 12(b)(6), can be based on one or both
the Court finds that plaintiff has demonstrated economic       of two grounds: (1) a challenge to the “sufficiency of the
need and has submitted the inmate authorization form           pleading” under Fed.R.Civ.P. 8(a)(2); or (2) a challenge to
required in this District. As a result, the Court grants       the legal cognizability of the claim. Jackson v. Onondaga
plaintiff's IFP Application.                                   Cnty., 549 F.Supp.2d 204, 211 nn. 15–16 (N.D.N.Y.2008)
                                                               (McAvoy, J., adopting Report–Recommendation on de
                                                               novo review).
III. SUA SPONTE REVIEW OF PLAINTIFF'S
COMPLAINT                                                      Because such dismissals are often based on the first
Having found that plaintiff meets the financial criteria for   ground, a few words regarding that ground are
commencing this action in forma pauperis, and because          appropriate. Rule 8(a)(2) of the Federal Rules of Civil
plaintiff seeks relief from a governmental entity or an        Procedure requires that a pleading contain “a short and



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plain statement of the claim showing that the pleader is         the “fair notice” standard turns on the plausibility of an
entitled to relief.” Fed.R.Civ.P. 8(a)(2) (emphasis added).      actionable claim. Id. at 555–72. The Court explained that,
In the Court's view, this tension between permitting             while this does not mean that a pleading need “set out
a “short and plain statement” and requiring that the             in detail the facts upon which [the claim is based],” it
statement “show[ ]” an entitlement to relief is often at         does mean that the pleading must contain at least “some
the heart of misunderstandings that occur regarding the          factual allegation[s].” Id. at 555–56. More specifically,
pleading standard established by Fed.R.Civ.P. 8(a)(2).           the “[f]actual allegations must be enough to raise a
                                                                 right to relief above the speculative level [to a plausible
On the one hand, the Supreme Court has long                      level],” assuming (of course) that all the allegations in the
characterized the “short and plain” pleading standard            complaint are true. Id.
under Fed.R.Civ.P. 8(a)(2) as “simplified” and “liberal.”
Jackson, 549 F.Supp.2d at 212 n. 20 (citing Supreme               *3 As for the nature of what is “plausible,” the Supreme
Court case). On the other hand, the Supreme Court has            Court explained that “[a] claim has facial plausibility
held that, by requiring the above-described “showing,”           when the plaintiff pleads factual content that allows the
the pleading standard under Fed.R.Civ.P. 8(a)(2) requires        court to draw the reasonable inference that the defendant
that the pleading contain a statement that “give[s] the          is liable for the misconduct alleged.” Iqbal, 556 U.S.
defendant fair notice of what the plaintiff's claim is and the   at 678. “[D]etermining whether a complaint states a
grounds upon which it rests.” Jackson, 549 F.Supp.2d at          plausible claim for relief ... [is] a context-specific task
212 n .17 (citing Supreme Court cases) (emphasis added).         that requires the reviewing court to draw on its judicial
                                                                 experience and common sense.... [W]here the well-pleaded
The Supreme Court has explained that such fair notice            facts do not permit the court to infer more than the mere
has the important purpose of “enabl[ing] the adverse             possibility of misconduct, the complaint has alleged—
party to answer and prepare for trial” and “facilitat[ing]       but it has not show[n]—that the pleader is entitled to
a proper decision on the merits” by the court. Jackson,          relief.” Id. at 679 (internal quotation marks and citations
549 F.Supp.2d at 212 n. 18 (citing Supreme Court cases);         omitted). However, while the plausibility standard “asks
Rusyniak v. Gensini, 629 F.Supp.2d 203, 213 & n. 32              for more than a sheer possibility that a defendant has
(N.D.N.Y.2009) (Suddaby, J.) (citing Second Circuit              acted unlawfully,” id., it “does not impose a probability
cases). For this reason, as one commentator has correctly        requirement.” Twombly, 550 U.S. at 556.
observed, the “liberal” notice pleading standard “has its
limits.” 2 Moore's Federal Practice § 12.34(1)(b) at 12–         Because of this requirement of factual allegations
61 (3d ed.2003). For example, numerous Supreme Court             plausibly suggesting an entitlement to relief, “the tenet
and Second Circuit decisions exist holding that a pleading       that a court must accept as true all of the allegations
has failed to meet the “liberal” notice pleading standard.       contained in the complaint is inapplicable to legal
Rusyniak, 629 F.Supp.2d at 213, n. 22 (citing Supreme            conclusions. Threadbare recitals of the elements of a cause
Court and Second Circuit cases); see also Ashcroft v. Igbal,     of action, supported by merely conclusory statements,
556 U.S. 662, 677–84 (2009).                                     do not suffice.” Iqbal, 556 U.S. at 678. Similarly, a
                                                                 pleading that only “tenders naked assertions devoid of
Most notably, in Bell Atl. Corp. v. Twombly, the Supreme         further factual enhancement” will not suffice. Id. (internal
Court reversed an appellate decision holding that a              citations and alterations omitted). Rule 8 “demands more
complaint had stated an actionable antitrust claim under         than an unadorned, the-defendant-unlawfully-harmed-
15 U.S.C. § 1. Bell Atl. Corp. v. Twombly, 550 U.S. 544          me accusation.” Id. (citations omitted).
(2007). In doing so, the Court “retire[d]” the famous
statement by the Court in Conley v. Gibson, 355 U.S. 41,         This pleading standard applies even to pro se litigants.
45–46 (1957), that “a complaint should not be dismissed          While the special leniency afforded to pro se civil rights
for failure to state a claim unless it appears beyond            litigants somewhat loosens the procedural rules governing
doubt that the plaintiff can prove no set of facts in            the form of pleadings (as the Second Circuit has observed),
support of his claim which would entitle him to relief.”         it does not completely relieve a pro se plaintiff of
Twombly, 550 U.S. at 561–63. Rather than turn on the             the duty to satisfy the pleading standards set forth in
conceivability of an actionable claim, the Court clarified,      Fed.R.Civ.P. 8, 10 and 12. 2 Rather, as both the Supreme



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Court and Second Circuit have repeatedly recognized, the       that “habeas corpus—not a § 1983 action—provides the
requirements set forth in Fed.R.Civ.P. 8, 10 and 12 are        sole federal remedy where a state prisoner challenges the
procedural rules that even pro se civil rights plaintiffs      fact or duration of his imprisonment ....“ (citing Preiser,
must follow. 3 Stated more simply, when a plaintiff is         411 U.S. at 488–90). Although plaintiff styles his pleading
proceeding pro se, “all normal rules of pleading are not       as a civil rights complaint, Section 1983 does not provide a
absolutely suspended.” Jackson, 549 F.Supp.2d at 214 n.        remedy for what plaintiff claims is his unlawful detention
                                                               by DOCCS.
28 (citations omitted). 4

                                                               Therefore, to the extent that plaintiff seeks his immediate
With this standard in mind, the Court will review
                                                               release from incarceration, that claim is dismissed
plaintiff's complaint.
                                                               pursuant to 28 U .S.C. § 1915(e)(2)(B) and 28 U.S.C. §
                                                               1915A(b)(1) for failure to state a claim upon which relief
   B. Review of the Complaint                                  may be granted under Section 1983.
Plaintiff brought this action under Section 1983 which
establishes a cause of action for “the deprivation of
                                                                  2. Request for Monetary Damages and Injunctive Relief
any rights, privileges, or immunities secured by the
                                                               Plaintiff seeks monetary damages for his alleged unlawful
Constitution and laws” of the United States. German v.
                                                               confinement by DOCCS and injunctive relief in the form
Fed. Home Loan Mortg. Corp., 885 F.Supp. 537, 573
                                                               of directing defendant to return plaintiff's criminal records
(S.D.N.Y.1995) (citing Wilder v. Virginia Hosp. Ass'n, 496
                                                               to him. Compl. at 6. Liberally construed, the request for
U.S. 498, 508 (1990) (quoting 42 U.S.C. § 1983)) (footnote
                                                               the return of his records is in essence a request to expunge
omitted).
                                                               any reference to plaintiff's criminal conviction.

Although most of his complaint is rambling and far
                                                               In Heck v. Humphrey, 512 U.S. 477, 486–87 (1994), the
from clear, construed liberally, the gravamen of plaintiff's
                                                               Supreme Court held that a Section 1983 action seeking
complaint is that he is a “Sovereign American,” and
                                                               money damages is not cognizable if a decision in favor
is being held in the custody of the New York State
                                                               of the plaintiff would necessarily invalidate a criminal
Department of Corrections and Community Supervision
                                                               conviction unless that conviction or sentence “has been
(“DOCCS”) pursuant to an invalid contract, or no
                                                               reversed on direct appeal, expunged by executive order,
contract. Compl. at 1. Plaintiff claims that, because he is
                                                               declared invalid by a state tribunal ..., or called into
“sovereign,” the only way that the government can have
                                                               question by a federal court's issuance of a writ of habeas
authority over him is through a contractual agreement.
Id. at 2–4. As relief, plaintiff seeks his immediate release   corpus ....“ Id. at 486–87. 6 “Heck uses the word ‘sentence’
from incarceration, as well as monetary damages resulting      interchangeably with ... ‘continuing confinement’ and
from both the alleged illegal confinement, and from his        ‘imprisonment,’ “ thus, any shortening of a term of
                                                               confinement will be subject to the rule in Heck. Wilkinson
rights as a sovereign. 5 See generally Compl. Plaintiff also
                                                               v. Dotson, 544 U .S. 74, 83–84 (2005) (quoting Heck,
requests that his “criminal records, photos, fingerprints,
                                                               512 U.S. at 483, 486) (other citation omitted); see also
[and] blood samples” relating to his criminal conviction be
                                                               Jude v. New York State, No. 07 Civ. 5890, 2009 WL
returned to him. Id. at 6. For a more complete statement
                                                               928134, at *6 (S.D.N.Y. Mar. 30, 2009) (citing cases).
of plaintiff's claims, refer to the complaint.
                                                               Indeed, an inmate's Section 1983 action is barred by
                                                               Heck “(absent prior invalidation)—no matter the relief
  1. Request for Immediate Release                             sought (damages or equitable relief), no matter the target
 *4 Insofar as plaintiff seeks his immediate release from      of the prisoner's suit ... if success in that action would
prison, his claims are not cognizable in this Section 1983     necessarily demonstrate the invalidity of confinement or
action. In Preiser v. Rodriguez, 411 U.S. 475 (1973),          its duration.” Wilkinson, 544 U.S. at 81–82 (emphasis in
the Supreme Court held that habeas corpus was the              original); see also Bodie v. Morgenthau, 342 F.Supp.2d
appropriate remedy for prisoners challenging the fact or       193, 201 (S.D.N.Y.2004) (denying plaintiff's request for
duration of their confinement. See id. at 490; see also        injunctive relief where plaintiff sought “to compel specific
Channer v. Mitchell, 43 F.3d 786, 787 (2d Cir.1994) (noting    action pertaining to the content of [his] parole records”).



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                                                                Johnson, as power of attorney for plaintiff. Id. Rule 11(a)
Here, plaintiff's claims for monetary damages and               of the Federal Rules of Civil Procedure (“Fed. R. Civ.P.”)
injunctive relief are both predicated upon his assertion        states:
that he is illegally incarcerated by DOCCS. An
award of monetary damages for his incarceration or                          (a) Signature. Every pleading,
the expungement of his criminal record would each                           written motion, and other paper
necessarily imply that his conviction was invalid. The                      must be signed by at least one
allegations in the complaint are not sufficient to allow the                attorney of record in the attorney's
Court “to draw the reasonable inference” that plaintiff                     name—or by a party personally if
has established, as he must, that he has been illegally                     the party is unrepresented.... The
detained; that he was improperly convicted, or that his                     court must strike an unsigned paper
conviction has been reversed, expunged, declared invalid,                   unless the omission is promptly
or called into question by a federal court's issuance of                    corrected after being called to the
                                                                            attorney's or party's attention.
a writ of habeas corpus. 7 Thus, plaintiff's claims for
monetary damages and injunctive relief are barred by
                                                                Fed.R.Civ.P. 11(a). 9 By statute, parties appearing in a
Heck v. Humphrey.
                                                                federal court may “plead and conduct their own cases
                                                                personally or by counsel.” 28 U.S.C. § 1654; see Berrios
 *5 Accordingly, plaintiff's claims for monetary damages
                                                                v. New York City Hous. Auth., 564 F.3d 130, 132 (2d
for his alleged unlawful incarceration and injunctive relief
                                                                Cir.2009). “Although [section] 1654 thus recognizes that
seeking expungement of his criminal records are dismissed
                                                                an individual generally has the right to proceed pro se with
in their entirety pursuant to 28 U.S.C. § 1915(e)(2)(B) and
                                                                respect to his own claims or claims against him personally,
28 U.S.C. § 1915A(b)(1) for failure to state a claim upon
                                                                the statute does not permit unlicensed laymen to represent
which relief may be granted.
                                                                anyone else other than themselves.” Berrios, 564 F.3d
                                                                at 132 (internal quotation marks omitted; emphasis in
  3. Claims Based Upon “Sovereign Citizenship”                  original). This rule recognizes that “a non-attorney creates
The Second Circuit has described “sovereign citizens” as        unusual burdens” for his adversary, the court, as well
“a loosely affiliated group who believe that the state and      as the party he intends to represent. Berrios, 564 F.3d
federal governments lack constitutional legitimacy and          at 133; see also Iannaccone v. Law, 142 F.3d 553, 558
                                                                (2d Cir.1998) (because pro se means to appear for one's
therefore have no authority to regulate their behavior.” 8
                                                                self, a person may not appear on another person's behalf
United States v. Ulloa, 511 F. App'x 105, 107 n. 1 (2d
                                                                in the other's cause); Phillips v. Tobin, 548 F.2d 408,
Cir.2013). The “sovereign citizen” belief system has been
                                                                411 n. 3 (2d Cir.1976). Shailee Johnson purports to
described by other courts as “completely without merit,”
                                                                sign on plaintiff's behalf as plaintiff's power of attorney.
“patently frivolous,” United States v. Jagim, 978 F.2d
                                                                There is no indication that Shailee Johnson is a lawyer.
1032, 1036 (8th Cir.1992), and having “no conceivable
                                                                Even assuming that Shailee Johnson is authorized to
validity in American law,” United States v. Schneider, 910
                                                                act on plaintiff's behalf in legal matters under a power
F.2d 1569, 1570 (7th Cir.1990).
                                                                of attorney, this does not overcome the requirement
                                                                under section 1654 “that a non-attorney is not allowed
The Court therefore concludes that, to the extent
                                                                to represent another individual in federal court litigation
plaintiff's claims are premised on his rights as a “sovereign
                                                                without the assistance of counsel.” Berrios, 564 F.3d at
citizen,” those claims are dismissed pursuant to 28 U.S.C.
                                                                134. “A power of attorney does not allow that person
§ 1915(e)(2)(B) and 28 U.S.C. § 1915A(b) for failure to
                                                                to proceed pro se on behalf of their principal[.]” Clark
state a claim upon which relief may be granted, and
                                                                v. Burge, No. 06–CV–0658, 2007 WL 1199475, at *2
because such claims are frivolous.
                                                                (W.D.N.Y. Apr. 19, 2007). 10 Accordingly, in the event
                                                                that plaintiff submits a pro se amended complaint, as
  4. Plaintiff's Failure to Personally Sign the Complaint       discussed below in Part III.C ., plaintiff must personally
Plaintiff has not personally signed the complaint. See          sign the amended complaint.
Compl. at 6–7. Instead, the complaint is signed by Shailee



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  C. Dismissal With or Without Leave                               Here, because the Court finds that any amendment of any
 *6 Generally, when a district court dismisses a pro se            of plaintiff's claims based upon his status as a sovereign
action sua sponte, the plaintiff will be allowed to amend          citizen are without merit, and wholly frivolous, the Court
his action. See Gomez v. USAA Fed. Sav. Bank, 171                  dismisses those claims with prejudice pursuant to 28
F.3d 794, 796 (2d Cir.1999). However, an opportunity to            U.S.C. § 1915(e)(2)(B) and 28 U.S.C. § 1915A(b).
amend is not required where the plaintiff has already been
afforded the opportunity to amend. 11                              The Court reaches a different conclusion with regard to
                                                                   plaintiff's remaining claims which challenge his conviction
Moreover, an opportunity to amend is not required where            and seek monetary damages or injunctive relief arising
the defects in the plaintiff's claims are substantive rather       from his alleged illegal incarceration. Granted, the Court
than merely formal, such that any amendment would be               has some difficulty finding that the defects in these claims
futile. As the Second Circuit has explained, “[w]here it           are merely formal. However, the Court is mindful of the
appears that granting leave to amend is unlikely to be             special solicitude that should be afforded to pro se civil
productive, ... it is not an abuse of discretion to deny leave     rights litigants. For that reason, these claims are dismissed
to amend.” Ruffolo v. Oppenheimer & Co., 987 F.2d 129,             without prejudice. 12
131 (2d Cir.1993) (citations omitted), accord, Brown v.
Peters, No. 6:95–CV–1641 (RSP/DS), 1997 WL 599355, at               *7 In light of his pro se status, the Court will afford
*1 (N.D.N.Y. Sept. 22, 1997) (“[T]he court need not grant          plaintiff the opportunity to file an amended complaint as
leave to amend where it appears that amendment would               to those claims dismissed without prejudice. See Gomez,
prove to be unproductive or futile.”) (citation omitted);          171 F.3d at 796. In any amended complaint that plaintiff
see also Foman v.. Davis, 371 U.S. 178, 182 (1962) (denial         submits in response to this Decision and Order, he must
not abuse of discretion where amendment would be futile);          set forth a short and plain statement of the facts on which
Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir.2000) (“The           he relies to support his claim that the individual named
problem with Cuoco's causes of action is substantive;              as a defendant engaged in misconduct or wrongdoing
better pleading will not cure it. Repleading would thus be         that violated plaintiff's constitutional rights and that he
futile. Such a futile request to replead should be denied.”)       presently has the right to proceed with his claims in this
(citation omitted); Cortec Indus., Inc. v. Sum Holding             action. Plaintiff is advised that any amended complaint
L.P., 949 F.2d 42, 48 (2d Cir.1991) (“Of course, where a           will completely replace the prior complaint in the action,
plaintiff is unable to allege any fact sufficient to support its   and that no portion of any prior complaint shall be
claim, a complaint should be dismissed with prejudice.”)           incorporated into his amended complaint by reference.
(citation omitted); Health–Chem Corp. v. Baker, 915 F.2d           Plaintiff is also advised that he must personally sign any
805, 810 (2d Cir.1990) ( “[W]here ... there is no merit            amended complaint that he submits.
in the proposed amendments, leave to amend should be
denied”).                                                          If plaintiff fails to submit an amended complaint,
                                                                   personally signed by him, within thirty (30) days of the
This rule applies even to pro se plaintiffs. See, e.g.,            filing date of this Decision and Order, the Court will,
Cuoco, 222 F.3d at 103; Brown, 1997 WL 599355, at *1.              without further order, dismiss the remainder of this action
As explained above in Part III.A. of this Decision and             in its entirety without prejudice pursuant to 28 U.S.C. §
Order, while the special leniency afforded to pro se civil         1915(e)(2)(B) and 28 U.S.C. § 1915A(b) for failure to state
rights litigants somewhat loosens the procedural rules             a claim upon which relief may be granted.
governing the form of pleadings (as the Second Circuit has
observed), it does not completely relieve a pro se plaintiff
of the duty to satisfy the pleading standards set forth in           D. Motion for Preliminary Injunctive Relief
Fed.R.Civ.P. 8, 10 and 12. Rather, as both the Supreme             Preliminary injunctive relief “ ‘is an extraordinary and
Court and Second Circuit have repeatedly recognized, the           drastic remedy, one that should not be granted unless
requirements set forth in Fed.R.Civ.P. 8, 10 and 12 are            the movant, by a clear showing, carries the burden of
procedural rules that even pro se civil rights plaintiffs must     persuasion.’ “ Moore v. Consol. Edison Co. of New York,
follow.                                                            Inc., 409 F.3d 506, 510 (2d Cir.2005) (quoting Mazurek



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v. Armstrong, 520 U.S. 968, 972 (1997)). The standard            authorization form (Dkt. No. 5), and notify the official
a court must utilize in considering whether to grant a           that this action has been filed and that plaintiff is required
request for injunctive relief is well-settled in this Circuit.   to pay to the Northern District of New York the entire
Citigroup Global Mkts., Inc. v. VCG Special Opportunities        statutory filing fee of $350.00 pursuant to 28 U.S.C. §
Master Fund Ltd., 598 F.3d 30, 35, 38 (2d Cir.2010). To          1915; and it is further
prevail on a motion for preliminary injunctive relief, a
plaintiff must demonstrate irreparable harm and either           ORDERED that the Clerk provide a copy of plaintiff's
a substantial likelihood of success on the merits of the         authorization form (Dkt. No. 5) to the Financial Deputy
claim, or sufficiently serious questions going to the merits     of the Clerk's Office; and it is further
and a balance of hardships tipping decidedly in his favor.
Id. at 35; Cacchillo v. Insmed, Inc., 638 F.3d 401, 405–         ORDERED that all of plaintiff's claims based upon
06 (2d Cir.2011). However, when the moving party seeks           his status as a sovereign citizen are DISMISSED with
a “mandatory injunction that alters the status quo by            prejudice pursuant to 28 U.S.C. § 1915(e)(2)(B) and 28
commanding a positive act,” the burden is even higher.           U.S.C. § 1915A(b) for failure to state a claim upon which
Id.; see Jolly v. Coughlin, 76 F.3d 468, 473 (2d Cir.1996).      relief may be granted and as frivolous; and it is further
Thus, a mandatory preliminary injunction “should issue
only upon a clear showing that the moving party is entitled      ORDERED that the remainder of plaintiff's complaint is
to the relief requested, or where extreme or very serious        DISMISSED without prejudice pursuant to 28 U.S.C. §
damage will result from a denial of preliminary relief.”         1915(e)(2) (B) and 28 U.S.C. § 1915A(b) for failure to state
Citigroup Global Mkts., 598 F.3d at 35 n. 4 (internal            a claim upon which relief may be granted; and it is further
quotation marks omitted).
                                                                 ORDERED that if plaintiff wishes to proceed with this
Here, the Court has determined that plaintiff's complaint        action he must, within thirty (30) days from the filing date
is insufficient and that an amended complaint must be            of this Decision and Order file an amended complaint
filed if this action to proceed. Without a valid pleading,       as set forth above, which must be personally signed by
plaintiff can not possibly establish that his claim has          plaintiff; and it is further
a likelihood of success on the merits of the claim or
sufficiently serious questions going to the merits and a         ORDERED that upon plaintiff's compliance with this
balance of hardships tipping decidedly toward the party          Decision and Order this matter be returned to the Court
seeking injunctive relief, let alone the “clear showing” that    for further review; and it is further
must be made for the mandatory injunctive relief that he
seeks.                                                           ORDERED that if plaintiff fails to timely file an
                                                                 amended complaint as directed above, the Clerk shall
 *8 Therefore, plaintiff's motion for injunctive relief is       enter judgment indicating that the remainder of this action
denied without prejudice to file a new motion if and when        is DISMISSED without prejudice without further order of
plaintiff has filed an amended complaint and the amended         this Court pursuant to 28 U.S.C. § 1915(e)(2)(B) and 28
complaint survives sua sponte review under 28 U.S.C. §           U.S.C. § 1915A(b) for failure to state a claim upon which
1915(e)(2)(B) and 28 U.S.C. § 1915A(b).                          relief may be granted. In that event, the Clerk is directed
                                                                 to close this case; and it is further

IV. CONCLUSION                                                   ORDERED that plaintiff's motion for preliminary
WHEREFORE, it is hereby                                          injunctive relief (Dkt. No. 9) is DENIED; and it is further

ORDERED that plaintiff's IFP Application (Dkt. No. 4)            ORDERED that the Clerk serve a copy of this Decision
is GRANTED; 13 and it is further                                 and Order on plaintiff.

ORDERED that the Clerk shall provide the
Superintendent of the facility, designated by plaintiff          IT IS SO ORDERED.
as his current location, with a copy of plaintiff's



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Footnotes
1      To determine whether an action is frivolous, a court must look to see whether the complaint “lacks an arguable basis
       either in law or in fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989).
2      See Vega v. Artus, 610 F.Supp.2d 185, 196 & nn. 8–9 (N.D.N . Y.2009) (Suddaby, J.) (citing Second Circuit cases);
       Rusyniak, 629 F.Supp.2d at 214 & n. 34 (citing Second Circuit cases).
3      See Vega, 610 F.Supp.2d at 196, n. 10 (citing Supreme Court and Second Circuit cases); Rusyniak, 629 F.Supp.2d at
       214 & n. 34 (citing Second Circuit cases).
4      It should be emphasized that Fed.R.Civ.P. 8's plausibility standard, explained in Twombly, was in no way retracted or
       diminished by the Supreme Court's decision (two weeks later) in Erickson v. Pardus, in which (when reviewing a pro
       se pleading) the Court stated, “Specific facts are not necessary” to successfully state a claim under Fed.R.Civ.P. 8(a)
       (2). Erickson v. Pardus, 551 U.S. 89, 93 (2007) (emphasis added). That statement was merely an abbreviation of the
       often-repeated point of law—first offered in Conley and repeated in Twombly—that a pleading need not “set out in detail
       the facts upon which [the claim is based]” in order to successfully state a claim. Twombly, 550 U.S. at 555 n. 3 (citing
       Conley, 355 U.S. at 47) (emphasis added). That statement did not mean that all pleadings may achieve the requirement
       of “fair notice” without ever alleging any facts whatsoever. Clearly, there must still be enough fact alleged (however set
       out, whether in detail or in a generalized fashion) to raise a right to relief above the speculative level to a plausible level.
       See Rusyniak, 629 F.Supp.2d at 214 & n. 35 (explaining holding in Erickson ).
5      Plaintiff attached a number of documents that he has executed purporting to renounce “all allegiance to the Foreign
       Venue and Jurisdiction ... of and within the United States (Washington DC) .” Dkt. No. 1–1 at 2. Plaintiff also claims to be
       “not subject to ... the Corporate United States of America, the Corporate State of New York, and/or any other Corporate
       Governmental body, whatsoever, without a valid contract.” Id. at 1.
6      Absent such a showing, an inmate may only seek relief in the federal courts through a petition for habeas corpus. See
       Jenkins v. Haubert, 179 F.3d 19, 23 (2d Cir.1999).
7      The Court notes that plaintiff has been denied habeas relief twice. See Robinson v. Portuondo, No. 6:01–CV–6154
       (W.D.N.Y.) (dismissing habeas petition as untimely), appeal dismissed, id., Dkt. No. 10; Robinson v. Smith, No. 6:03–
       CV–6633 (W.D.N.Y.), Dkt. No. 9 (Second Circuit Mandate denying leave to file a second or successive habeas petition).
8      Although plaintiff refers to himself as a “Sovereign American,” the beliefs he subscribes to mirror those of sovereign
       citizens. “Sovereign citizens apparently also believe that, by entering into contracts with the federal government or by
       receiving benefits from it, they lose their birthright of sovereign citizenship.” Gauthier v. Kirkpatrick, No. 2:13–CV–0187,
       2013 WL 6407716, at *17, n. 18 (D.Vt. Dec 9, 2013) (citation omitted).
9      Rule 10.1(c)(2) of the Local Rules of Practice of this District also requires that all documents submitted to the Court must
       include the original signature of the attorney or the pro se litigant.
10     See also Megna v. U.S. Department of Navy, 317 F.Supp.2d 191, 192 (E.D.N.Y.2004) (“Although New York General
       Obligations Law § 5–1502H authorizes an agent holding a sufficient power of attorney ‘[t]o assert and prosecute before
       any court ... any cause of action ... which the principal has, or claims to have, against any individual,’ that statute only
       permits the agent to hire on behalf of her principal, see e.g., In re Khoubesserian, 264 A .D.2d 599, 600, 695 N.Y.S.2d
       312, 314 (2d Dep't 1999), leave to appeal denied, 94 N.Y.2d 757, 704 N.Y.S.2d 532, 725 N.E.2d 1094 (1999), not to
       commence an action pro se in the name of her principal.”).
11     Shuler v. Brown, No. 07–CV–0937, 2009 WL 790973, at *5 & n .25 (N.D.N.Y. March 23, 2009) (McAvoy, J., adopting
       Report–Recommendation by Lowe, M.J.) (“Of course, an opportunity to amend is not required where the plaintiff has
       already amended his complaint.”), accord, Smith v. Fischer, No. 07–CV–1264, 2009 WL 632890, at *5 & n. 20 (N.D.N.Y.
       March 9, 2009) (Hurd, J., adopting Report–Recommendation by Lowe, M.J.); Abascal v. Hilton, No. 04–CV–1401, 2008
       WL 268366, at *8 (N.D.N.Y. Jan. 130 2008) (Kahn, J., adopting, on de novo review, Report–Recommendation by Lowe,
       M.J.); see also Yang v. New York City Trans. Auth., No. 01–CV–3933, 2002 WL 31399119, at *2 (E.D.N.Y. Oct. 24, 2002)
       (denying leave to amend where plaintiff had already amended complaint once); Advanced Marine Tech. v. Burnham Sec.,
       Inc., 16 F.Supp.2d 375, 384 (S.D.N.Y.1998) (denying leave to amend where plaintiff had already amended complaint
       once); cf. Foman v. Davis, 371 U.S. 178, 182 (1962) (denial of leave to amend not abuse of discretion if movant has
       repeatedly failed to cure deficiencies in pleading).



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12    See Amaker v. Weiner, 179 F.3d 48 (2d Cir.1999) (dismissal under Heck is without prejudice; if plaintiff's conviction or
      sentence is later declared invalid or called into question by a federal court's issuance of a writ of habeas corpus, the
      suit may be reinstated).
13    Plaintiff should note that although his IFP Application has been granted, he will still be required to pay fees that he may
      incur in this action, including copying and/or witness fees.


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